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 3                                                 December 11,2020

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 9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11

12    JAMES RUTHERFORD, an               Case No. 5:20-cv-01755-SB-SP
13    individual,

14                                           ORDER DISMISSAL WITH
      Plaintiff,                             PREJUDICE
15
      v.
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17    YUNAN C. FUTURE INC., a
      California corporation; and DOES
18    1-10, inclusive,
19
      Defendants.
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 1         After consideration of the Joint Stipulation for Dismissal of the entire action

 2   with Prejudice filed by Plaintiff James Rutherford (“Plaintiff”) and Yunan C. Future
 3
     Inc. (“Defendant”), the Court hereby enters a dismissal with prejudice of Plaintiff’s
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 5   Complaint in the above-entitled action, in its entirety. Each party shall bear his or its

 6   own costs and attorneys’ fees.
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 8         IT IS SO ORDERED.
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     DATED: December 11, 2020
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13                                    UNITED STATES DISTRICT JUDGE
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                                  [PROPOSED] ORDER
                              DISMISSAL WITH PREJUDICE
